UNITED STATES DISTRICT COURT                                              For Online Publication Only
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
FREEDOM MORTGAGE CORPORATION,

                                               Plaintiff,                 MEMORANDUM & ORDER
                                                                          19-cv-05881 (JMA) (JMW)

                          -against-                                                     FILED
                                                                                        CLERK
PRISCILLA A. HABEEB, BIBI Z. SANKAR, and
SLOMINS INC,                                                                 9:05 am, Jul 02, 2024
                                                                                 U.S. DISTRICT COURT
                                             Defendants.                    EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X          LONG ISLAND OFFICE
AZRACK, United States District Judge:

        Plaintiff Freedom Mortgage Corporation (“Plaintiff”) brought this action to foreclose on a

mortgage encumbering the property at 3077 Cornwell Place, Baldwin, New York 11510

(“Property”). (See Compl., ECF No. 1.) Presently before the Court is Plaintiff’s unopposed

motion for default judgment (“Motion”) against Defendant Slomins Inc. (See ECF No. 47.) For

the below reasons, Plaintiff’s Motion is GRANTED.

                                          I.         BACKGROUND

        On February 6, 2015, Defendants Priscilla A. Habeeb and Bibi Z. Sankar, (“Mortgagors”)

executed and delivered to The Federal Savings Bank—a Federal Savings Bank—a Note (see ECF

No. 47-2) and a Mortgage (see ECF No. 47-3) in the amount of $439,814.00. (See ECF No. 47-1,

¶ 4 (“Monahan Decl.”).) The Mortgage secured repayment of the Note with a lien on the Property

and was recorded in the Nassau County Clerk’s Office on February 23, 2015, in Liber Book:

M40225, Page 357. (See ECF No. 47-6, ¶¶ 4–5 (“Younger Affidavit.”).)

        The Mortgage was then assigned to Plaintiff by an assignment of mortgage dated October

7, 2019, and recorded October 16, 2019 at Liber Book: M 43739 Page: 457 Instrument No.: 2019-

89835. (See Monahan Decl. ¶ 5; see also Younger Affidavit ¶ 6.) On May 1, 2019, Mortgagors

defaulted on their obligations under the Note and Mortgage by failing to make the monthly
installment payment due on that day and on all subsequent monthly payments thereafter. (See

Monahan Decl. ¶ 6; see also Younger Affidavit ¶ 7.)

       On June 27, 2019, Notices of Default under the terms of the Mortgage were sent in

compliance with Plaintiff’s standard procedures by certified mail and first-class mail to the

Mortgagors at 3077 Cornwell Place, Baldwin, New York 11510 (“Mortgaged Premises.”) (See

Monahan Decl. ¶ 7; see also ECF No. 47-1, ¶¶ 4-5 (“Affidavit of Mailing”).) Additionally, in

compliance with Real Property Actions and Proceedings Law (“RPAPL”) Section 1304, 90-Day

Notices, in at least 14-point type with a list of at least five housing counseling agencies, were

served on May 8, 2019, in a separate envelope from any other notices via certified and first-class

mail to the Mortgagors at the Mortgaged Premises. (See Monahan Decl. ¶ 8; see also Affidavit of

Mailing ¶¶ 4, 6.)

       On October 17, 2019, Plaintiff began this foreclosure action against Mortgagors and

Defendant. (See Monahan Decl. ¶ 9.) Defendant was named as a defendant in this action because

it is the holder of a lien encumbering the Property in the amount of $1.968.93 dated November 21,

2016, and recorded on March 20, 2017, in the Nassau County Clerk’s Office with Document

Number 2017-00060372 that is subject to and subordinate to Plaintiff’s Mortgage. (See Monahan

Decl. ¶ 10; see also ECF No. 47-17 (“Slomins Inc Judgment”).) All Defendants were duly served

with the pleadings thereafter. (See Monahan Decl. ¶ 11; see also ECF No. 47-11.) On November

19, 2019, Defendant Priscilla A. Habeeb filed an answer with eight affirmative defenses. (See

Monahan Decl. ¶ 12; see also ECF No. 47-12.) On December 5, 2019, the Court issued a

Certificate of Default against Defendants Slomins Inc and Bibi Z. Sankar. (See Monahan Decl. ¶

13; see also ECF No. 47-13.) Following the commencement of this action, the Note and Mortgage

were sold and assigned to RMTP Trust. (See Monahan Decl. ¶ 15; see also Young Affidavit ¶ 8.)

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       On November 3, 2022, Plaintiff moved for summary judgment against Priscilla A. Habeeb,

default judgment against Bibi Z. Sankar and Slomins Inc, and for appointment of a referee to

compute the sums owed to Plaintiff. (See ECF No. 39.) Priscilla A. Habeeb opposed Plaintiff’s

motion for summary judgment, and Plaintiff replied to Priscilla A. Habeeb’s opposition. (See ECF

Nos. 40–41.) On May 8, 2023, the Court referred the motion to Magistrate Judge James M. Wicks

for a report and recommendation. (See Elec. Order, May 8, 2023.)

       On July 27, 2023, Magistrate Judge Wicks issued a report and recommendation

recommending the Court grant Plaintiff’s motion for summary judgment as to Prascilla A. Habeeb

and for default judgment against Bibi Z. Sankar. (See ECF No. 43.) Magistrate Judge Wicks

recommended the Court deny with leave to renew Plaintiff’s motion for default judgment against

Defendant for failure to demonstrate Defendant’s interest in the Property. (See
                                                                            - - -id.)
                                                                                  - No objections

were filed to the Report and Recommendation. On August 11, 2023, the Court issued an Order

adopting the Report and Recommendation in its entirety. (See ECF No. 44.)

       For the below reasons, Plaintiff has established entitlement to default judgment as to

Defendant.

                                   II.    LEGAL STANDARD

       The Federal Rules of Civil Procedure prescribe a two-step process for a plaintiff to obtain

a default judgment. First, “[w]hen a party against whom a judgment for affirmative relief is sought

has failed to plead or otherwise defend, and that failure is shown by affidavit or otherwise, the

clerk must enter the party’s default.” FED. R. CIV. P. 55(a). Second, after a default has been entered

against the defendant, and provided the defendant failed to appear and move to set aside the default,

the court may, on a plaintiff’s motion, enter a default judgment. See FED. R. CIV. P. 55(b)(2).



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          Before imposing a default judgment, the district court must accept well-pled allegations as

true and determine whether they establish the defendant’s liability as a matter of law. See

Bricklayers & Allied Craftworkers Local 2 v. Moulton Masonry & Constr., LLC, 779 F.3d 182,

187 (2d Cir. 2015). “While a party’s default is deemed to constitute a concession of all well

pleaded allegations of liability, it is not considered an admission of damages.” Id. at 189 (internal

quotation marks and alterations omitted). Instead, the plaintiff must establish to a “reasonable

certainty” entitlement to the relief requested. Cement & Concrete Workers Dist. Council Welfare

Fund, Pension Fund, Annuity Fund, Educ. & Training Fund & Other Funds v. Metro Found.

Contractors Inc., 699 F.3d 230, 234 (2d Cir. 2012) (internal quotation marks omitted).

                                        III.   DISCUSSION

A.        Defendant Defaulted

          As detailed above, Defendant was properly served with a summons and the Complaint but

failed to answer, file an appearance, or otherwise defend this action. See supra Section I. The

Clerk of the Court properly entered a certificate of default for Defendant on December 5, 2019.

(See ECF No. 11.)

B.        Mortgagors’ Liability

          Under New York law, “a plaintiff in an action to foreclose a mortgage [must] demonstrate:

‘the existence of the mortgage and mortgage note, ownership of the mortgage, and the defendant’s

default in payment.’” Gustavia Home, LLC v. Bent, 321 F. Supp. 3d 409, 414 (E.D.N.Y. 2018)

(quoting Campaign v. Barba, 805 N.Y.S.2d 86, 86 (2d Dep’t 2005)). “Once the plaintiff submits

the mortgage, the unpaid note, and evidence of the default, it has demonstrated its prima facie case

of entitlement to judgment.” Id. (citing Fleet Natl. Bank v. Olasov, 793 N.Y.S.2d 52, 52 (2d Dep’t

2005)).

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       Here, Plaintiff submitted copies of the Note (see Monahan Decl., Ex. A) and the Mortgage

(see Monahan Decl., Ex. B).         Those documents establish the existence—and Plaintiff’s

ownership—of the Mortgage and Note. See, e.g., Nissan Motor Acceptance Corp. v. Nemet

Motors, LLC, No. 19-CV-3284, 2022 WL 4651667, at *3 (E.D.N.Y. Sept. 29, 2022) (“Where, as

here, the plaintiff is also the original lender, production of the mortgage and note establish

standing.”).

       Plaintiff submitted evidence of Mortgagors’ default in the form of an affidavit by Anthony

Younger (see Monahan Decl., Ex. E ¶ 7) and a Loan History (see Monahan Decl., Ex D), which

evidences that Mortgagors defaulted on the loan on May 1, 2019, and have not cured their default.

Plaintiff also submitted the notices that it was required to send to the Mortgagors under the

Agreements, as well as proof that it complied with its obligations under the RPAPL. See supra

Section I. This documentary evidence, together with the allegations in the Complaint, are

sufficient to establish a prima facie case for foreclosure. Thus, RMTP Trust has established its

right to foreclose upon the Property.

C.     Defendant’s Liability

       Under the RPAPL, the necessary parties to a mortgage foreclosure include “[e]very person

having any lien or incumbrance upon the real property which is claimed to be subject and

subordinate to the lien of the plaintiff.” REAL PROP. ACTS. LAW § 1311(3). “The rationale for

joinder of these interests derives from the underlying objective of foreclosure actions—to

extinguish the rights of redemption of all those who have a subordinate interest in the property and

to vest complete title in the purchaser at the judicial sale.” 71-21 Loubet, LLC v. Bank of Am.,

N.A., 174 N.Y.S.3d 400, 404 (2d Dep’t 2022) (internal quotation marks omitted). Accordingly,

Plaintiff seeks to extinguish the subordinate lien on the Property held by Defendant. Plaintiff bears

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the burden to establish this “nominal liability” as to Defendant. E.g., Onewest Bank N.A. v. Louis,

No. 15-CV-00597, 2016 WL 3552143, at *12 (S.D.N.Y. June 22, 2016) (internal quotations

omitted). “To plead nominal liability, a plaintiff must allege ‘in great detail’ the nature of a

defendant’s interest in the subject property.” Miss Jones LLC v. Brown, No. 17-CV-898, 2020 WL

13889871, at *7 (E.D.N.Y. Aug. 14, 2020) (quoting Wells Fargo Bank, N.A. v. Landi, No. 13-CV-

5822, 2015 WL 5657358, at *3 (E.D.N.Y. Sept. 22, 2015)), report and recommendation adopted,

2020 WL 5503535 (E.D.N.Y. Sept. 11, 2020).

       Plaintiff submitted documents confirming in detail that Defendant holds a subordinate lien

on the Property. (See Monahan Decl., Ex. P ¶ 10.) For example, Plaintiff established that

Defendant has an interest in the property through a judgment for $1.968.93 dated November 21,

2016, and recorded on March 20, 2017 in the Nassau County Clerk’s Office with Document

Number 2017-00060372. (See Monahan Decl., Ex. P ¶ 10). Plaintiff also alleged in the Complaint

that Defendant’s lien is subject and subordinate to Plaintiff’s Mortgage. (See Monahan Decl., Ex.

I ¶ 9). Moreover, Defendant’s lien was recorded two years after Plaintiff’s Mortgage. (See

Monahan Decl., Ex. B ¶ 4.) As such, Plaintiff established “nominal liability” sufficient for

judgment against Defendant extinguishing its interest in the Property. See, e.g., CIT Bank, N.A.

v. Howard, No. 14-CV-7470, 2018 WL 3014815, at *13 (E.D.N.Y. June 15, 2018) (imposing

nominal liability against defendants after reviewing documents confirming their subordinate

property interests).

       Moreover, Plaintiff submitted the affidavit of service demonstrating that Defendant was

duly served with the pleadings in this action. (See Monahan Decl., Ex. J.) Specifically, on October

25, 2019, Plaintiff effected service of process on Defendant Slomins Inc. through an authorized

agent under CPLR § 311. (See id.) Defendant neither answered nor responded in any way to the

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Complaint, nor did Defendant request an extension of time to respond. And the time to do so has

expired. There is no sign that the Defendant’s failure to respond to the Complaint, despite being

properly served, was anything but deliberate. Accordingly, default judgment should be entered.

                                    IV.     CONCLUSION

       For the above reasons, the Motion for Default Judgment against Defendant Slomins Inc. is

GRANTED. (See ECF No. 47.) The Clerk of Court is respectfully directed to serve a copy of this

Order on the Defendant at its address of record.

 SO ORDERED.
 Dated: July 2, 2024
        Central Islip, New York
                                                            /s/ (JMA)
                                                       JOAN M. AZRACK
                                                       UNITED STATES DISTRICT JUDGE




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